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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:07CR3111
           v.                        )
                                     )
TODD LEE CUNNINGHAM JR.,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     Defendant’s motion for release, filing 22, is granted in
part and Pretrial Services shall arrange for screening the
defendant for entry into a suitable residential dual-diagnosis
treatment program.

     DATED this 2nd day of October, 2007.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
